          Case
AO 245C (Rev. )2:19-cr-20026-GAD-EAS
                      Amended Judgment in a Criminal Case   ECF No. 142 filed 02/25/20                  PageID.1085       Page
                                                                                                              (NOTE: Identify      1 with
                                                                                                                              Changes of 7Asterisks (*))
                      Sheet 1




                                         UNITED STATES DISTRICT COURT
                                                            &BTUFSO%JTUSJDUPG.JDIJHBO


               UNITED STATES OF AMERICA                                      )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                   v.                                        )
                                                                             )   Case Number: 19-20026-3
                        Phanideep Karnati                                    )
                                                                                 USM Number: 57216-039
                                                                             )
Date of Original Judgment:              1/29/2020                                Anjali Prasad
                                        (Or Date of Last Amended Judgment)
                                                                             )   Defendant’s Attorney
                                                                             )




THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              1 of the Indictment
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                          Offense Ended          Count

18 U.S.C. § 371                          Conspiracy to Commit Visa Fraud and Harbor Aliens for Profit                       1/1/2019      1




       The defendant is sentenced as provided in pages 2 through                 7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                  1/29/2020
                                                                                 Date of Imposition of Judgment

                                                                                  s/Gershwin A. Drain
                                                                                 Signature of Judge
                                                                                  Gershwin A. Drain, U.S. District Judge
                                                                                 Name and Title of Judge
                                                                                  2/25/2020
                                                                                 Date
         Case
AO 245C (Rev.     2:19-cr-20026-GAD-EAS
              ) Amended Judgment in a Criminal Case   ECF No. 142 filed 02/25/20                PageID.1086         Page 2 of 7
                     Sheet 2 — Imprisonment                                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page         2     of          7
DEFENDANT: Phanideep Karnati
CASE NUMBER: 19-20026-3

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
6 months. The cost of incarceration is waived.




G       The court makes the following recommendations to the Bureau of Prisons:




✔
G       The defendant is remanded to the custody of the United States Marshal.

G       The defendant shall surrender to the United States Marshal for this district:
        G     at                                   G       a.m.     G    p.m.       on                                     .

        G     as notified by the United States Marshal.

G       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        G     before 2 p.m. on                                              .

        G     as notified by the United States Marshal.

        G     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                             to

at                                                         with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
         Case
AO 245C (Rev.     2:19-cr-20026-GAD-EAS
              ) Amended Judgment in a Criminal Case   ECF No. 142 filed 02/25/20          PageID.1087            Page 3 of 7
                     Sheet 3 — Supervised Release                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page        3       of         7
DEFENDANT: Phanideep Karnati
CASE NUMBER: 19-20026-3
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
Upon release from imprisonment, the Defendant shall be on supervised release for a term of one year, non-reporting. The
cost of supervision is waived.




                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance.
. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
        G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check if applicable)
. G <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
        UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
. G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
. G You must comply with the requirements of the Sex Offender Registration and Notification Act (86&, et seq.) as
        directed by the probation officer, the Bureauof Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
        reside, work, area student, or were convicted of a qualifying offense.(check if applicable)
. G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
         Case
AO 245C (Rev.     2:19-cr-20026-GAD-EAS
              ) Amended Judgment in a Criminal Case   ECF No. 142 filed 02/25/20            PageID.1088            Page 4 of 7
                     Sheet 3A — Supervised Release
                                                                                                        Judgment—Page      4     of        7
DEFENDANT: Phanideep Karnati
CASE NUMBER: 19-20026-3

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
          Case
AO 245C (Rev. 09/19)2:19-cr-20026-GAD-EAS
                      Amended Judgment in a Criminal Case     ECF No. 142 filed 02/25/20                PageID.1089             Page 5 of 7
                      Sheet 5 — Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page        5      of             7
DEFENDANT: Phanideep Karnati
CASE NUMBER: 19-20026-3
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment            5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS             $ 100.00               $                                $                             $                        $


G The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss***                       Restitution Ordered                        Priority or Percentage




TOTALS                               $                           0.00         $                          0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      G the interest requirement is waived for            G fine        G restitution.
      G the interest requirement for the          G fine         G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
          Case
AO 245C (Rev. 09/19)2:19-cr-20026-GAD-EAS
                      Amended Judgment in a Criminal Case   ECF No. 142 filed 02/25/20             PageID.1090              Page 6 of 7
                      Sheet 6 — Schedule of Payments                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page      6      of         7
DEFENDANT: Phanideep Karnati
CASE NUMBER: 19-20026-3

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                    100.00                due immediately, balance due

           G not later than                                        , or
           G in accordance with G C,               G D,        G   E, or   G F below; or
B    G Payment to begin immediately (may be combined with                  G C,      G D, or G F below); or
C    G Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                                 Joint and Several                Corresponding Payee,
     (including defendant number)                           Total Amount                   Amount                          if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
       Pursuant to 18 USC § 982 (a)(6) and 18 USC § 981 (a)(1)(C) together with 28 USC § 2461(c), defendant shall forfeit to
       the USA: $11,700/00 made payable to the US Customs and Border Protection as Substitute Proceeds, which represent

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
          Case
AO 245C (Rev. )2:19-cr-20026-GAD-EAS
                      Amended Judgment in a Criminal Case   ECF No. 142 filed 02/25/20   PageID.1091        Page 7 of 7
                      Sheet 6B — Schedule of Payments                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment—Page       7     of          7
DEFENDANT: Phanideep Karnati
CASE NUMBER: 19-20026-3

                                            ADDITIONAL FORFEITED PROPERTY
  represents the total amount of proceeds obtained as a result of defendant's violation of Count One of the Indictment.
